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Attorney for Credltor

K.urt Miller

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA - SAN J()SE DIVISION

fn Re: ‘ Case No. 18»5i575 MBH
Chapter 13

GLORIA CABRAL ROBLES,
SUBSTITUT.ION OF A'I`TORNEY

Debtor.

 

 

 

'1`0 THE COURT, ALL PARTIES AND 'I`HEIR ATT€)RNEYS ()F RECORD:
Y{)U ARE NOTIFIED that Crcditor Moving Party KURT M.ILLER (“Movant”) make§

the folfowing substitution as ofPriday, Novc;mber 23, 2018:

l. Former Legaf Representative: Kurt Mil}er, pro per;
Z. New Leaa} Representative: Andrew D. Weiss (SBN 121149), Law Ot`fices of
Andrew D. Weiss, 26459 Rar,\chu Parkway South, Lake Forest, Ca}ifomia 92630. Telephone
Numbe1‘(949) 360~9478, email: ocfawadw@aol.com.

3. The party making this substitution is credith KURT MILLER; and
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// /

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Dated: / ,, 0 , /, nj Z{(:~>(
5 Kurt Miiler
6
7 NEW COUNSEL;
8 L,Aw C)FFICES 0F ANDREW D. WEISS
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PROOF OF SERV|CE OF DOCUMENT

l am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. l\/|y business
address is:

A true and correct copy of the foregoing document entitled (spec/'fy): SUBST|TUTION 0F ATTORNEY
for Kurt l\/li|ler will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT V|A NOTlCE OF ELECTRONlC F|L|NG (NEF): Pursuant to
controlling Genera| Orders and LBR, the foregoing document will be served by the court via NEF and
hyperllnk to the document On (date) December 11 2018, l checked the Cl\/l/ECF docket for this
bankruptcy case or adversary proceeding and determined that the following persons are on the
Electronic l\/lail Notice List to receive NEF transmission at the email addresses stated below:

 

Debtor's counsel, Lawrence P. Ramlrez| ramirez thell .com
Attorney for Trustee, Nanette Dumas Emai|: ctdocs@ch135j.com
Office of the U.S. Trustee/SJ

l:l Service information continued on attached page

2. SERVED BY UN|TED STATES MAlL:

On (date) December 11 2018, l served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in
a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
Listing thejudge here constitutes a declaration that mailing to the judge will be completed no later than
24 hours after the document is filed.

 

Debtor Gloria Cabral Robles, 3474 Gl|a Drive, San Jose, CA 95148

I:j Service information continued on attached page

3. SERVED BY PERSC)NAL DEL|VERY, OVERNIGHT MA|L, FACS|M|LE TRANSM|SS|ON OR
EMA|L (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
LBR, on (date) , l served the following persons and/or entities by personal delivery,
overnight mail service, or (for those who consented in writing to such service method), by facsimile
transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document

is fl|ed.
1:] Service information continued on attached page

l declare under penalty of perjury under the laws of the United States that the foregoing i true and
correct.

 

December 11, 2018 Andrew D. Weiss
Date Printed Name Signature

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